Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 1 of 152 PageID #:
                                     4829
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 2 of 152 PageID #:
                                     4830
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 3 of 152 PageID #:
                                     4831
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 4 of 152 PageID #:
                                     4832
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 5 of 152 PageID #:
                                     4833
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 6 of 152 PageID #:
                                     4834
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 7 of 152 PageID #:
                                     4835
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 8 of 152 PageID #:
                                     4836
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 9 of 152 PageID #:
                                     4837
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 10 of 152 PageID #:
                                     4838
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 11 of 152 PageID #:
                                     4839
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 12 of 152 PageID #:
                                     4840
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 13 of 152 PageID #:
                                     4841
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 14 of 152 PageID #:
                                     4842
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 15 of 152 PageID #:
                                     4843
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 16 of 152 PageID #:
                                     4844
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 17 of 152 PageID #:
                                     4845
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 18 of 152 PageID #:
                                     4846
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 19 of 152 PageID #:
                                     4847
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 20 of 152 PageID #:
                                     4848
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 21 of 152 PageID #:
                                     4849
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 22 of 152 PageID #:
                                     4850
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 23 of 152 PageID #:
                                     4851
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 24 of 152 PageID #:
                                     4852
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 25 of 152 PageID #:
                                     4853
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 26 of 152 PageID #:
                                     4854
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 27 of 152 PageID #:
                                     4855
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 28 of 152 PageID #:
                                     4856
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 29 of 152 PageID #:
                                     4857
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 30 of 152 PageID #:
                                     4858
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 31 of 152 PageID #:
                                     4859
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 32 of 152 PageID #:
                                     4860
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 33 of 152 PageID #:
                                     4861
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 34 of 152 PageID #:
                                     4862
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 35 of 152 PageID #:
                                     4863
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 36 of 152 PageID #:
                                     4864
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 37 of 152 PageID #:
                                     4865
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 38 of 152 PageID #:
                                     4866
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 39 of 152 PageID #:
                                     4867
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 40 of 152 PageID #:
                                     4868
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 41 of 152 PageID #:
                                     4869
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 42 of 152 PageID #:
                                     4870
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 43 of 152 PageID #:
                                     4871
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 44 of 152 PageID #:
                                     4872
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 45 of 152 PageID #:
                                     4873
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 46 of 152 PageID #:
                                     4874
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 47 of 152 PageID #:
                                     4875
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 48 of 152 PageID #:
                                     4876
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 49 of 152 PageID #:
                                     4877
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 50 of 152 PageID #:
                                     4878
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 51 of 152 PageID #:
                                     4879
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 52 of 152 PageID #:
                                     4880
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 53 of 152 PageID #:
                                     4881
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 54 of 152 PageID #:
                                     4882
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 55 of 152 PageID #:
                                     4883
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 56 of 152 PageID #:
                                     4884
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 57 of 152 PageID #:
                                     4885
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 58 of 152 PageID #:
                                     4886
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 59 of 152 PageID #:
                                     4887
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 60 of 152 PageID #:
                                     4888
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 61 of 152 PageID #:
                                     4889
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 62 of 152 PageID #:
                                     4890
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 63 of 152 PageID #:
                                     4891
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 64 of 152 PageID #:
                                     4892
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 65 of 152 PageID #:
                                     4893
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 66 of 152 PageID #:
                                     4894
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 67 of 152 PageID #:
                                     4895
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 68 of 152 PageID #:
                                     4896
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 69 of 152 PageID #:
                                     4897
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 70 of 152 PageID #:
                                     4898
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 71 of 152 PageID #:
                                     4899
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 72 of 152 PageID #:
                                     4900
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 73 of 152 PageID #:
                                     4901
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 74 of 152 PageID #:
                                     4902
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 75 of 152 PageID #:
                                     4903
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 76 of 152 PageID #:
                                     4904
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 77 of 152 PageID #:
                                     4905
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 78 of 152 PageID #:
                                     4906
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 79 of 152 PageID #:
                                     4907
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 80 of 152 PageID #:
                                     4908
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 81 of 152 PageID #:
                                     4909
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 82 of 152 PageID #:
                                     4910
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 83 of 152 PageID #:
                                     4911
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 84 of 152 PageID #:
                                     4912
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 85 of 152 PageID #:
                                     4913
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 86 of 152 PageID #:
                                     4914
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 87 of 152 PageID #:
                                     4915
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 88 of 152 PageID #:
                                     4916
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 89 of 152 PageID #:
                                     4917
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 90 of 152 PageID #:
                                     4918
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 91 of 152 PageID #:
                                     4919
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 92 of 152 PageID #:
                                     4920
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 93 of 152 PageID #:
                                     4921
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 94 of 152 PageID #:
                                     4922
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 95 of 152 PageID #:
                                     4923
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 96 of 152 PageID #:
                                     4924
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 97 of 152 PageID #:
                                     4925
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 98 of 152 PageID #:
                                     4926
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 99 of 152 PageID #:
                                     4927
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 100 of 152 PageID #:
                                      4928
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 101 of 152 PageID #:
                                      4929
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 102 of 152 PageID #:
                                      4930
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 103 of 152 PageID #:
                                      4931
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 104 of 152 PageID #:
                                      4932
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 105 of 152 PageID #:
                                      4933
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 106 of 152 PageID #:
                                      4934
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 107 of 152 PageID #:
                                      4935
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 108 of 152 PageID #:
                                      4936
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 109 of 152 PageID #:
                                      4937
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 110 of 152 PageID #:
                                      4938
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 111 of 152 PageID #:
                                      4939
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 112 of 152 PageID #:
                                      4940
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 113 of 152 PageID #:
                                      4941
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 114 of 152 PageID #:
                                      4942
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 115 of 152 PageID #:
                                      4943
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 116 of 152 PageID #:
                                      4944
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 117 of 152 PageID #:
                                      4945
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 118 of 152 PageID #:
                                      4946
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 119 of 152 PageID #:
                                      4947
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 120 of 152 PageID #:
                                      4948
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 121 of 152 PageID #:
                                      4949
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 122 of 152 PageID #:
                                      4950
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 123 of 152 PageID #:
                                      4951
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 124 of 152 PageID #:
                                      4952
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 125 of 152 PageID #:
                                      4953
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 126 of 152 PageID #:
                                      4954
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 127 of 152 PageID #:
                                      4955
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 128 of 152 PageID #:
                                      4956
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 129 of 152 PageID #:
                                      4957
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 130 of 152 PageID #:
                                      4958
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 131 of 152 PageID #:
                                      4959
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 132 of 152 PageID #:
                                      4960
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 133 of 152 PageID #:
                                      4961
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 134 of 152 PageID #:
                                      4962
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 135 of 152 PageID #:
                                      4963
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 136 of 152 PageID #:
                                      4964
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 137 of 152 PageID #:
                                      4965
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 138 of 152 PageID #:
                                      4966
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 139 of 152 PageID #:
                                      4967
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 140 of 152 PageID #:
                                      4968
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 141 of 152 PageID #:
                                      4969
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 142 of 152 PageID #:
                                      4970
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 143 of 152 PageID #:
                                      4971
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 144 of 152 PageID #:
                                      4972
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 145 of 152 PageID #:
                                      4973
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 146 of 152 PageID #:
                                      4974
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 147 of 152 PageID #:
                                      4975
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 148 of 152 PageID #:
                                      4976
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 149 of 152 PageID #:
                                      4977
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 150 of 152 PageID #:
                                      4978
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 151 of 152 PageID #:
                                      4979
Case 2:06-cv-06695-JS-SIL Document 224-14 Filed 06/02/12 Page 152 of 152 PageID #:
                                      4980
